        Case 5:06-cr-40056-SAC    Document 40   Filed 06/28/06   Page 1 of 15




              IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                    Plaintiff,

vs.                                         Case No. 06-40056-01/02-SAC

JOSEPH LEE ALLEN and
KENNETH EUGENE ALLEN, JR.,

                    Defendants.

                          MEMORANDUM AND ORDER

              This case comes before the court on defendant Joseph Lee

Allen’s motion to join co-defendant’s pretrial motions (Dk. 25), and

defendant Kenneth Eugene Allen, Jr.’s motions to sever (Dk. 30) and to

suppress identification (Dk. 31). The government has responded. The

court conducted an evidentiary hearing on June 22, 2006, and took the

motions under advisement. Having reviewed the evidence admitted at that

hearing as well as the relevant law and the pleadings, the court is ready to

rule.

Motion to join co-defendant’s pretrial motions (Dk. 25)
      Case 5:06-cr-40056-SAC     Document 40      Filed 06/28/06   Page 2 of 15




              Defendant Joseph Lee Allen has moved to join his co-

defendant’s motions. The government has responded that it “does not

oppose this motion, to the extent that the defendant can establish standing

to join in such motions.” Dk. 27, p. 4. The court grants this motion.

Motion to suppress identification

              Defendant Kenneth Eugene Allen, Jr. seeks an order of

suppression of the out-of-court identification and any in-court

identification by Mary Cavens,1 alleging that there was “an overly

suggestive photographic lineup procedure.” Defendant contends that the

process was unreliable because the use of mug shots was “automatically

prejudicial,” and the photographs depicted persons insufficiently similar to

defendant.

      Facts

              Ms. Cavens was a bartender at Scottie's Bar and Grill on

December 19th, 2005, when it was allegedly robbed by both defendants.

      1
        No challenge is made to the identifications made by Mr. Cavens.
Nonetheless, because defendant’s primary challenges are to the content of the
photographs, the court will consider defendant’s arguments to apply to the
identifications made by both Mr. and Ms. Cavens.

                                          2
     Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 3 of 15




Her husband, Delano, was also present and witnessed the robbery.

             Ms. Cavens was shown two photo line ups.2 Each line up

consisted of eight pages, with each page containing a front and a profile

head shot of a person, which were mug shots.

             The first photographic line up was shown to Ms. Cavens on

December 22, 2005, by Detective Mark Finley of the Topeka Police

Department. He had called previously to set up the meeting and had told

Ms. Cavens he had some suspects for her to look at.

             He testified that he went to Ms. Cavens’ house in the morning

about three days after the robbery to get a written statement from her and to

have her view the photo line up. He took with him photographs of persons

which he had compiled from an internet database which provides mug

shots to law enforcement officers. He had typed in the physical description

of the defendants which he had obtained from statements Ms. Cavens had

previously made to law enforcement officers, and had received a list of

persons whose general appearance was similar to the defendants. He then


      2
       Government’s Exh. 1.

                                        3
      Case 5:06-cr-40056-SAC    Document 40     Filed 06/28/06   Page 4 of 15




reviewed photographs of those persons and selected six of them to use in

the line up, based upon their similarity of appearance to the defendants. He

printed color copies of these six persons’ mug shots and color copies of

both defendants’ most recent mug shots to make the photographic array of

eight persons which he showed to Ms. Cavens. All were printed from the

same computer printer on the same kind of paper.

            At Ms. Cavens house, Mr. Finley told Ms. Cavens he had some

photographs for her to look at. He and Ms. Cavens sat at her dining room

table, while Mr. Cavens sat out of sight on a couch in the adjacent living

room, approximately 15-20 feet away. Mr. Finley said little to her. He did

not tell her either suspect was or was not in the packet, did not say she had

any obligation to identify anyone and did not instruct her to state the degree

of certainty in the event she made an identification. He displayed the

photographs individually, laying them on the table one at a time.

            Ms. Cavens viewed the photographs in less than one minute and

“unequivocally” selected the photographs of both defendants as the

assailants immediately upon seeing them. She selected no other


                                        4
      Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 5 of 15




photographs. Detective Finley realized that she had selected the two

defendants, but did not tell Ms. Cavens so because her husband was close.

He did not have Ms. Cavens sign the photograph of either defendant at that

time. Ms. Cavens was in a hurry to get to class so did not give a written

statement to Detective Finley.

             Detective Finley then presented the photographs to Mr. Cavens

in the same manner he had shown them to Ms. Cavens. Mr. Cavens

identified defendant Kenneth Allen, and hesitated at the photograph of

Joseph Allen but was not sure. He did not identify any other photographs.

            The second photographic line up was on January 31, 2006, by

F.B.I. Special Agent Scott Gentine. He testified that he had called Ms.

Cavens to set up a meeting at which he wanted to get a written statement

from her and to show her some photographs. He took with him the exact

same photographs which Detective Finley had showed her.

When Agent Gentine arrived at Ms. Cavens’ house, he sat with Ms. Cavens

at the table. He showed her the photographs individually, one at a time, as

he held them in his hands, then let her take her time to review all of them.


                                        5
      Case 5:06-cr-40056-SAC     Document 40     Filed 06/28/06   Page 6 of 15




He asked whether she had seen the photographs before, and she replied,

“Yes, with Detective Finley.” He asked whether she recognized anyone in

the photographs as part of the incident at Scotties Bar. She then identified

the two defendants’ photographs and no other photographs, and Agent

Gentine had her sign her name under the defendants’ photographs. He

testified that she did not equivocate at all in choosing the two defendants

and that it took her one minute, maximum, to identify the them.

             On March 6, 2006, Agent Gentine presented a photographic

line up to Mr. Cavens. He had made Xerox copies of the color

photographs, having removed Ms. Cavens’ signatures and the printed name

of an individual which appeared on one photograph of an individual who is

not a defendant. 3 He had also called Mr. Cavens to set up the meeting and

told him he had some photographs for him to look at to see if he could

identify anyone from the robbery. When they met in the parking lot of Mr.

Cavens’ place of employment, Agent Gentine handed Mr. Cavens the

      3
        Government’s Exh. 1D bears a name and other criminal identification
information printed across the top of the photographs on that page. Defendant
does not contend that the presence of this information was a factor in any
identification of defendants.

                                         6
     Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 7 of 15




Xerox copies. Mr. Cavens reviewed them for one or two minutes then

unequivocally identified Joseph Allen and no other photographs.

             Both witnesses testified that they presented the photographs in

a neutral fashion and made no statements and took no acts intended to

influence the identification of any photograph on any occasion. In short,

they did nothing to suggest that either defendant was involved in the crime.

General law

            Defendant has the initial burden to prove that the identification

procedure used in this case was impermissibly suggestive.

             In order to prevail on a claim of an unduly suggestive
      photographic lineup, a defendant has the initial burden of proving
      that the identification procedure was impermissibly suggestive. See
      United States v. Wade, 388 U.S. 218, 240 n. 31, 87 S. Ct. 1926, 18
      L. Ed. 2d 1149 (1967). It is only after the defendant meets this
      burden that the burden shifts to the government to prove that the
      identification was reliable independent of the suggestive procedure.
      Id. It is only necessary to reach the second element of the inquiry if
      the court first determines that the array was impermissibly
      suggestive. See United States v. Sanchez, 24 F.3d 1259, 1261-62
      (10th Cir. 1994).

English v. Cody, 241 F.3d 1279, 1282 -1283 (10th Cir. 2001).

            The Tenth Circuit has stated certain factors to be used in


                                       7
     Case 5:06-cr-40056-SAC      Document 40      Filed 06/28/06   Page 8 of 15




determining whether a photograph array is impermissibly suggestive.

      Factors used to determine whether a photograph array is
      impermissibly suggestive include the size of the array, the manner of
      its presentation, and the details of the photographs. Smith, 156 F.3d
      at 1050.

United States v. Knight, 49 Fed. Appx. 215, 217, 2002 WL 31266115, *2

(10th Cir. 2002). Defendant does not challenge the size of the array, but

challenges the manner of presentation, in part.

      Manner of presentation

              During argument of the motion, defendant challenged the

manner of presentation of the photographs. Specifically, defendant

contends that the officers violated legally required procedures by failing to

tell Mr. and Ms. Cavens that photographs of the robbers may not be

included in the array and that they were not compelled to select anyone

from the lineup. No legal support has been shown for defendant’s

assertion that these questions are required by decisional law and none has

been found.

              Mug shots

              Defendant next contends that using mug shots for identification

                                         8
      Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 9 of 15




purposes is “automatically prejudicial.” All photographs shown to Mr. and

Ms. Cavens were mug shots. As with the issue above, defendant fails to

provide any citation to law in support of this proposition of law. Research

has failed to uncover any precedent which has held that using mug shots

for purposes of identification renders the identification procedure unduly

suggestive.

              Challenges to the use of mug shots usually arise when police

photographs have been introduced as evidence or when explicit reference

to them has been made before a jury. Compare, United States v. McCoy,

848 F.2d 743, 746 (6th Cir. 1988) (“Mug shot evidence is prejudicial

because it informs the jury that a defendant has a criminal record.”); with

Holifield v. Davis, 662 F.2d 710, 711 (11th Cir. 1981) (holding a witness'

reference to “mug shots” unaccompanied by anything suggesting past

criminal activity does not constitute prejudicial error, as the jury

instruction that a defendant is presumed innocent dissipates any innuendo

which could have been drawn from the use of the term “mug shots”

standing alone). Accordingly, the fact that the identifications were made


                                         9
     Case 5:06-cr-40056-SAC      Document 40    Filed 06/28/06   Page 10 of 15




from “mug shots” in this case has not been shown to be prejudicial. See

United States v. Wai Ho Tsang, 632 F. Supp. 1336, 1340 (SDNY 1986).

      Impermissibly suggestive details

               The primary issue in the present case is whether the

photographs themselves were unduly suggestive. Defendant contends that

there were characteristics in his photograph that would draw a witness' eye

to his picture, or make it stand out from the others. The government

contends that the contents of the photographs were substantially similar

because: each photograph was printed on about the same texture, type, and

size of paper, and had same or similar backgrounds; each photograph was

of a black man; and each person was similarly attired, was approximately

the same age and had approximately the same body-build, head hair and

facial hair.

               Defendant Joseph Allen contends his hair and attire are

distinctively different than that of the others in the photographs. The

court’s review of the photographs confirms that defendant Joseph Allen’s

hair is significantly darker and somewhat longer than others. However he


                                         10
     Case 5:06-cr-40056-SAC      Document 40      Filed 06/28/06   Page 11 of 15




was not the only one in the lineup with any facial hair. Others in the lineup

had varying degrees of facial hair and head hair such that no striking

dissimilarity between his appearance and that of others is evident. As

stated by the Tenth Circuit:

      ...the fact that [the defendant] had more facial hair than the others was
      not unnecessarily prejudicial, especially in light of Detective Lee's
      warning to the witness that “hairstyles, beards, moustaches may
      easily change.” See United States v. Thurston, 771 F.2d 449, 452-53
      (10th Cir. 19185) (finding identification procedure not unduly
      suggestive where defendant was the only one in six photographs to
      have a beard and whose hair was braided); United States v. Shoels,
      685 F.2d 379, 385 (10th Cir.1982) (holding that a photographic
      array of men with facial hair, where the suspect had been described as
      without facial hair, was not unnecessarily suggestive), cert. denied,
      462 U.S. 1134 (1983).

United States v. Storey, 1996 WL 532654, *2 (10th Cir. 1996). Here,

defendant’s facial hair and hairstyle4 is substantially similar to those of the

other individuals depicted in the photographs.

             Defendant Joseph Allen next notes that he is the only person

depicted wearing a coat or jacket. He contends that his photograph,

showing him to be wearing what appears to be a heavy brown or black

      4
       Although no warning was given in the present case that hairstyles and facial
hair may easily change, this is a matter of common knowledge.

                                          11
     Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 12 of 15




leather coat or jacket, suggests that he was the individual involved in the

robbery because the robbery occurred in the cold, early morning hours in

December. The court finds this to be too great an inference. Absent

evidence that the robber was wearing a similar coat during the robbery or

that any witnesses had described the robber as having worn a similar coat,

the fact that Joseph Allen is shown wearing a coat does not raise a

reasonable inference that he was involved in the robbery. Many persons

wear coats or jackets at other times and for other purposes, rendering his

depiction in a coat or jacket insignificant.

      Previous identification

            Defendants appear to contend that showing the witnesses the

photographic lineups twice renders the second identification unreliable.

The court agrees that viewing an invalid array may taint a witness' viewing

of a subsequent array because the witness may be likely to retain in his

memory the image of the photograph rather than of the person actually

seen, reducing the trustworthiness of subsequent lineup or courtroom

identification. See Simmons v. United States, 390 U.S. 377, 383-384


                                        12
     Case 5:06-cr-40056-SAC     Document 40    Filed 06/28/06   Page 13 of 15




(1968). But the court has found the first array to be valid, rendering this

line of authority irrelevant.

             Certain testimony in this case could be construed to mean that

during the second photographic lineup Ms. Cavens was asked to identity

the photographs she had previously identified, rather than to make an

independent identification. But even assuming, arguendo, that this is so,

Ms. Cavens’ initial viewing and identification of both defendants is

unquestionably untainted. Further, the evidence shows that Mr. Cavens did

not make his second identification based on his recollection of his first

view of the photographs, since he identified only Kenneth Allen the first

photographic lineup and identified only Joseph Allen during the second

photographic lineup. No suggestiveness has been shown by virtue of the

fact that the witnesses were shown the photographic lineup twice.

             Conclusion

             Having reviewed the size of the array, the manner of its

presentation, and the details of the photographs, the court finds that

defendant has failed to meet its burden to prove that the identification


                                        13
     Case 5:06-cr-40056-SAC     Document 40     Filed 06/28/06   Page 14 of 15




procedure used in this case was impermissibly suggestive. No evidence

suggests that either witness was pressured or coached into selecting any of

the pictures, or that the officers used any suggestive techniques to

influence the witnesses. The identifications were conducted separately, so

that each witness was not influenced by other witness. Each photograph

was printed on about the same texture, type, and size of paper, and had

similar backgrounds. Each photograph was of a black man whose age and

facial shape was approximately the same as defendants. Each photograph

shows a man who has a closely-cropped haircut or is bald. Slight but

insignificant differences in head hair and facial hair are visible as to

defendant Joseph Allen, and he is wearing a coat or jacket although no

others are. Nonetheless, there is a high degree of similarity among the

eight men depicted, as well as among the eight photographs. The array

does not in any way draw suggestive attention to either defendant.

Considering all of the circumstances, no basis for suppression has been

shown.

Motion to sever


                                        14
     Case 5:06-cr-40056-SAC        Document 40   Filed 06/28/06   Page 15 of 15




             Defendant Kenneth Allen is charged with two counts, but his

brother is charged in all four counts of the indictment. Defendant Kenneth

Allen alleges that separate trials are necessary because: 1) he is charged in

only one of the two robberies; 2) evidence of his brother’s involvement in

another, similar, robbery is highly prejudicial; and 3) the jury will be

unable to compartmentalize the evidence against him. Defendant further

contends that the spillover effect of the evidence cannot be prevented or

cured by a limiting instruction.

             The court notes only that under the circumstances of this case,

severance may or may not be appropriate, and that this motion would be

better decided at a date closer to trial, if any, of this case.

             IT IS THEREFORE ORDERED that the motion to join (Dk.

25) is granted, that the motion to sever (Dk. 30) is taken under advisement

until a date closer to trial, and that the motion to suppress identification

(Dk. 31) is denied.

             Dated this 28th day of June, 2006, Topeka, Kansas.

                                 s/ Sam A. Crow
                                 Sam A. Crow, U.S. District Senior Judge

                                          15
